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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA

SONY MUSIC ENTERTAINMENT,et al.

                       Plaintiffs,
                                                  Case No. 1:18-cv-00950-LO-JFA
               V.



COX COMMUNICATIONS,INC., et al.,

                       Defendants.


STIPULATION REGARDING CLAIMS THAT ACCRUED BETWEEN NOVEMBER 27,
  2014 AND JULY 31,2018 AND VOLUNTARY DISMISSAL OF COX'S COUNTER
                                            CLAIMS


       WHEREAS Plaintiffs filed their Complaint(ECF No. I) on July 31,2018 alleging certain

claims against Defendants Cox Communications, Inc. and CoxCom, LLC (collectively. Cox ),
and seeking relief only for "claims of infringement that accrued from February 2013 through No
vember 2014." ECF No. 1, Compl.,^ 10.

       WHEREAS Cox answered Plaintiffs' allegations and asserted certain Counterclaims on

September 24,2018. ECF No. 21.

       WHEREAS Plaintiffs represented the following in briefing on their Motion to Dismiss
Cox's Counterclaims: "Plaintiffs take no position on the propriety of Cox's actions after Novem

ber 2014; but Plaintiffs are also not trying to leave open the possibility of a second lawsuit for a
later period. In any event, to avoid doubt Plaintiffs expressly represent that, in this litigation or
otherwise,they will not pursue claims against Cox for copyright infringement of Plaintiffs' works,
arising from activities that took place through Cox's network between November 27,2014 and the
filing of the Complaint." ECF No. 33 at 12; ECF No. 33-1 (Declaration of Jeffrey M. Gould), H
3.
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